               Case 6:18-ap-00079-LVV         Doc 1         Filed 07/26/18   Page 1 of 10




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:                                                  )
                                                        )
PERK MED SPA, LLC,                                      )       Case No.: 6:18-bk-01894-CCJ
                                                        )       Chapter 7
                        Debtor.                         )
                                                        )
ARVIND MAHENDRU, TRUSTEE                                )
                                                        )
                        Plaintiff,                      )
                                                        )
vs.                                                     )       Adv. No.:_______________
                                                        )
ELLIOTT HOLDINGS, INC., and                             )
                                                        )
ROBERT ELLIOTT                                          )
                                                        )
                        Defendants.                     )

                                           COMPLAINT

         COMES NOW, Plaintiff Arvind Mahendru, Trustee (hereinafter “Plaintiff”), by and

through his undersigned attorney, hereby files this Complaint against Elliott Holdings, Inc.

and Robert Elliott and shows:

                                           JURISDICTION

      1. Jurisdiction is based on 28 U.S.C. §1334(a).

      2. Venue is based on 28 U.S.C. §1409(a).

      3. This is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(F).

      4. This complaint is timely filed.

                                              PARTIES

      5. Plaintiff Arvind Mahendru is the duly qualified and acting Trustee in this case
         Case 6:18-ap-00079-LVV          Doc 1    Filed 07/26/18     Page 2 of 10




   (hereinafter the “Trustee”).

6. Debtor Perk Med Spa, LLC (hereinafter “Debtor”) is a Florida Limited Liability

   Company formed on or about January 5, 2015.

7. Defendant Elliott Holdings, Inc. (hereinafter “EHI”) is a Florida Corporation formed

   on or about September 18, 2017.

8. Defendant Robert Elliott (hereinafter “Elliott”) is the owner and registered agent of

   Perk Med Spa, LLC.

9. Defendant Elliott is the owner and registered agent of Elliott Holdings, Inc.

                              SUMMARY OF ALLEGATIONS

10. Elliott, as owner of the Debtor, caused large sums of cash and equipment to be

   removed from the Debtor-entity without adequate consideration. The Debtor-entity had

   creditors at the time of the transfers. Those assets were moved to Elliott’s personal

   name or to another entity owned and controlled by Elliott. Such entity was set up

   immediately before the Debtor’s bankruptcy attorneys were hired. Elliott has refused

   to provide additional information to the trustee to substantiate or adequately explain

   the transfers.

                                  FACTUAL BACKGROUND

11. On April 3, 2018, Defendant, as owner of Perk Med Spa, LLC, caused a Chapter 7

   bankruptcy to be filed for the Debtor.

12. On or around September 29, 2017, Elliott sold 6 pieces of equipment to EHI.

13. Purchase Agreements were provided by the Debtor to the Trustee evidencing the sale

   of those 6 pieces of equipment for which Elliott signed for both seller and buyer in
         Case 6:18-ap-00079-LVV            Doc 1   Filed 07/26/18      Page 3 of 10




   each of those agreements.

14. Those 6 agreements purported to sell the following equipment from the Debtor to EHI:

       a. CORE CO2 Device – SN1026 sold for $750.

       b. HydraFacial Device – SN0659 sold for $750.

       c. Ultherapy Device – SN 014R sold for $750.

       d. Ultherapy Device – SN1810 sold for $750.

       e. Velashape III Device – SN 2918 sold for $750.

       f. Velashape III Device – SN9283 sold for $750.

15. The sum total of the sale price of the above 6 pieces of equipment based on the sale

   price denoted in those agreements is $4,500.00.

16. Debtor claimed three batches of equipment were to be sold.

17. Debtor claimed the first batch was sold to EHI for $12,000.00, listing $9,300.00 in

   costs yielding profits of $2,700.00.

18. Debtor claimed a second batch was sold to EHI for $20,000.00, listing $14,900.00 in

   costs, yielding profits of $5,100.00.

19. $2,700.00 and $5,100.00 of profits yields a total $7,800.00 of profits for the first two

   batches of equipment.

20. At the 341 meeting on May 15, 2018, Defendant as owner of Perk Med Spa, LLC

   testified that $5,000.000 was set aside from EHI’s bank account to a personal account,

   then deposited into another bank account and that the $5,000.00 represented the

   proceeds of the sale of equipment to or by EHI.

21. Elliott, therefore, has claimed bills of sale for the Debtor in the amount $4,500.00, with
         Case 6:18-ap-00079-LVV          Doc 1     Filed 07/26/18     Page 4 of 10




   profits of $7,800.00 (from the first 2 of 3 batches of the equipment), while also

   depositing a third different amount of $5,000.00 into different bank accounts.

22. At the continued 341 meeting held on June 26, 2018, Defendant testified that an

   “UltraShape Power Device – SN0136” remains unsold and that Debtor, or Debtor

   through a salesperson who works at EHI, is actively marketing the sale of the

   equipment.

23. Trustee is unsure if additional equipment remains unsold or if there are other pieces of

   equipment not disclosed.

24. On or around October 2, 2017, Elliott withdrew $50,000.00 from a Chase bank account

   (x5153) owned by Perk Med Spa, LLC and deposited it into a checking account ending

   in x5787.

25. Elliott has not provided bank account statements ending in x5787 to account for the

   $50,000.000.



                            COUNT I –Restraining Order

26. Plaintiff re-alleges and incorporates the allegations contained in paragraphs numbers

   one (1) through twenty-five (25) above.

27. Upon information and belief, Defendant may have one or more pieces of equipment that

   remain in his possession.

28. Plaintiff is concerned about the immediate dissipation of assets with permanent harm to

   the property of the estate.
          Case 6:18-ap-00079-LVV          Doc 1     Filed 07/26/18      Page 5 of 10




   WHEREFORE, Plaintiff moves this Court to enter an order (a) in favor of the Plaintiff;

(b) against the Defendant; (c) for a restraining order preventing the sale or disposition of

any remaining pieces of equipment or money, or in the alternative that any sale or disposition

is coordinated with and approved by the Trustee or this Court; and, (d) Plaintiff further

hereby requests to reserve jurisdiction as to attorney’s fees and costs, if allowable.



   COUNT II - DECLARATORY ACTION TO PIERCE THE CORPORATE VEIL
     AND/OR FIND ALTER EGO AND/OR FIND SUCCESSOR LIABILITY
           UNDER 11 U.S.C. §§544 AND FLORIDA COMMON LAW

29. Plaintiff re-alleges and incorporates the allegations contained in paragraphs numbers

   one (1) through twenty-five (25) above.

30. Elliott, individually or through entities he controlled, has disregarded corporate

   formalities by commingling funds of the Debtor in accounts which did not belong to

   the Debtor.

31. Elliott, individually or through entities he controlled, has failed to properly account for

   or adhere to proper recordkeeping.

32. Elliott, individually or through entities he controlled, has used EHI to commit illicit

   acts, to wit: fraud or fraudulent transfers under the Bankruptcy Code and Florida

   Statute.

33. Elliott, individually or through entities he controlled, has: conducted the business of (a

   mere continuation); or, otherwise liquidated assets of the Debtor under EHI without

   benefit to the Creditors of the Debtor.
              Case 6:18-ap-00079-LVV           Doc 1    Filed 07/26/18      Page 6 of 10




   34. There is at least one actual holder of an allowed unsecured claim pursuant to 11 U.S.C.

       § 502, who would have standing to assert this claim.

       WHEREFORE, Plaintiff moves this Court to enter an order (a) in favor of the Plaintiff;

(b) against the Defendants; (c) setting aside any corporate insulation as to the causes of action

herein; and, (d) Plaintiff further hereby requests to reserve jurisdiction as to attorney’s fees

and costs, if allowable.



COUNT III – AVOIDANCE OF FRAUDULENT TRANSFERS UNDER 11 U.S.C. § 548

   35. Plaintiff re-alleges and incorporates the allegations contained in paragraphs numbers

       one (1) through twenty-five (25) above.

   36. This is an adversary proceeding to recover fraudulent transfers pursuant to 11 U.S.C.

       § 548.

   37. Debtor transferred assets to Elliott or EHI at a time when Debtor was insolvent.

   38. Debtor did not receive fair value for those transfers.

   WHEREFORE, Plaintiff moves this Court to enter an order (a) determining that the

transfers were fraudulent and avoidable under 11. U.S.C. § 548; (b) avoiding the transfers and

entering judgment in favor of the Trustee against Defendants for the value of the transfers,

plus pre-judgment interest, post-judgment interest, and costs of suit; and (c) for other relief the

Court deems just and proper.
           Case 6:18-ap-00079-LVV          Doc 1    Filed 07/26/18     Page 7 of 10




     COUNT IV– ACTUAL FRAUD – AVOIDANCE AND RECOVERY OF
FRAUDULENT TRANSFERS RECEIVED BY DEFENDANT UNDER 11 U.S.C. §§544
            AND 550 AND FLA. STAT. §§ 726.105 AND 726.108

  39. Plaintiff re-alleges and incorporates the allegations contained in paragraphs numbers

     one (1) through twenty-five (25) above.

  40. This is an adversary proceeding to recover fraudulent transfers pursuant to 11 U.S.C.

     §§ 544 and 550, and Florida’s Uniform Fraudulent Transfer Act (hereinafter

     “FUFTA”).

  41. Within four years prior to the Petition Date, Debtor transferred equipment and money

     to Defendants or for the benefit of Defendants.

  42. Pursuant to 11 U.S.C. § 544, the Trustee may avoid any transfer of an interest of

     Debtor in property transferred to Defendants that is voidable under applicable law (in

     this case under Fla. Stat.§§ 726.105 and 726.108) by a creditor holding an unsecured

     claim.

  43. The transfers were made by Debtor with the actual intent to hinder, delay or defraud

     present and future creditors of Debtor.

  44. There is at least one actual holder of an allowed unsecured claim pursuant to 11 U.S.C.

     § 502, who would have standing to assert a claim for relief under FUFTA.

  45. Creditors may file or have filed claims against Debtor, whose claims arose before or

     after the transfers were made.

  46. The transfers are avoidable, and should be avoided, pursuant to Fla. Stat. §§

     726.105(1)(a) and 726.108, and 11 U.S.C. § 544(b)(l).

  47. Pursuant to 11 U.S.C. § 550, the recovery of property for the benefit of Debtor's
              Case 6:18-ap-00079-LVV         Doc 1     Filed 07/26/18     Page 8 of 10




       estate is authorized to the extent that the transfers are avoided under 11 U.S.C. § 544

       and FUFTA.

       WHEREFORE, the Trustee moves this Court to enter an order (a) determining that the

transfers were fraudulent and avoidable under 11 U.S.C. §§ 544(b) and 550 and FUFTA; (b)

avoiding the transfers and entering judgment in favor of the Trustee against Defendants, jointly

and severally, for the value of the transfers, plus pre-judgment interest, post-judgment interest,

and costs of suit; (c) disallowing any claim that Defendant may have against Debtor, or any

debtor jointly administered with Debtor, including, without limitation, pursuant to and as

provided in 11 U.S.C. § 502; and, (d) for such other and further relief as the Court deems just

and proper.



   COUNT V - CONSTRUCTIVE FRAUD - AVOIDANCE AND RECOVERY OF
  FRAUDULENT TRANSFERS RECEIVED BY DEFENDANT UNDER 11 U.S.C. §§
      544(b)(l) AND 550 AND FLA. STAT. §§ 726.105, 726.106 AND 726.108

   48. Plaintiff re-alleges and incorporates the allegations contained in paragraphs numbers

       one (1) through twenty-five (25) above.

   49. This is an adversary proceeding to recover fraudulent transfers pursuant to 11 U.S.C.

       §§ 544 and 550, and FUFTA.

   50. Within four years prior to the petition date, Debtor made transfers to Defendant or for

       the benefit of Defendant.

   51. Debtor did not receive fair value in exchange for the transfers to Defendants or for the

       benefit of Defendants.

   52. At the time of the transfers, Debtor was insolvent and remained insolvent continuously
             Case 6:18-ap-00079-LVV          Doc 1     Filed 07/26/18     Page 9 of 10




       thereafter.

   53. At the time of the transfers, Debtors was engaged in a business or transaction for

       which Debtor’s remaining property constituted an unreasonably small amount of

       capital in relation to Debtor’s business or the transaction.

   54. At the time of the transfers, Debtor intended to incur, believed or reasonably should

       have believed that Debtor would incur, debts that would be beyond its ability to pay as

       they became due.

   55. There is at least one actual holder of an allowed unsecured claim pursuant to 11 U.S.C.

       § 502 who would have standing to assert a claim for relief under FUFTA.

   56. Creditors could file or have filed claims against Debtor whose claims arose before or

       after the Payments were made.

   57. The transfers are avoidable, and should be avoided, pursuant to Fla. Stat. §§

       726.105(l)(b), 726.106(1), and 726.108(1)(a), and 11 U.S.C. § 544(b)(l).

   58. Pursuant to 11 U.S.C. § 550, the recovery of property for the benefit of Debtor's estate

       is authorized to the extent the transfers are avoided under 11 U.S.C. § 544 and

       FUFTA.

       WHEREFORE, the Trustee moves this Court to enter an order (a) finding that the

transfers were fraudulent and avoidable under 11 U.S.C. §§ 544 and 550 and FUFTA; (b)

avoiding the transfers and entering judgment in favor of the Trustee against Defendants, jointly

and severally, for the value of the transfers, plus pre-judgment interest, post-judgment interest,

and costs of suit; (c) disallowing any claim that Defendants may have against Debtor, or any

Debtor jointly administered with Debtor, including, without limitation, pursuant to and as
              Case 6:18-ap-00079-LVV         Doc 1     Filed 07/26/18     Page 10 of 10




provided in 11 U.S.C. § 502; and, (d) for such other and further relief as the Court deems just

and proper.



       COUNT VI - TO DISALLOW CLAIMS PURSUANT TO 11 U.S.C. §502(d)

   59. Plaintiff re-alleges and incorporates the allegations contained in paragraphs numbers

       one (1) through twenty-five (25) above.

   60. Defendants were the initial transferee of the transfers or the immediate or mediate

       transferee of such initial transferee or the person for whose benefit the transfers were

       made.

   61. Pursuant to 11 U.S.C. § 502(d), any claims of Defendants against the Debtor must be

       disallowed until such time as Defendant pays to Plaintiff an amount equal to the

       aggregate amount of all the avoidable transfers, plus interest thereon and costs.

       WHEREFORE, the Plaintiff respectfully requests that this Court grant judgment as

follows: (a) pursuant to 11 U.S.C. § 502(d), disallow any claim of Defendants against Debtor;

and (b) grant such other and further relief to the Plaintiff as may be just and proper.


Dated: July 26, 2018.
                                                      Respectfully submitted,
                                                      /s/ L. Todd Budgen
                                                      L. Todd Budgen, Esq.
                                                      FL Bar No.: 0296960
                                                      BUDGEN LAW
                                                      Post Office Box 520546
                                                      Longwood, Florida 32752-0546
                                                      (407) 481-2888
                                                      tbudgen@mybankruptcyfirm.com
                                                      Attorney for Plaintiff
